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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-537-JMC
               v.                             :
                                              :
RYAN SAMSEL,                                  :
                                              :
                                              :
                       Defendant.             :



    GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT SAMSEL’S
                MOTION TO CONTINUE SENTENCING


       The United States respectfully submits this response in opposition to Defendant Ryan

Samsel’s motion to continue his sentencing hearing currently set for September 19, 2024 to an

unspecified date. ECF No. 393. Samsel’s request is premised on material factual inaccuracies and

fails to justify this Court further delaying sentencing in this matter.

                                          ARGUMENT

       First, Samsel incorrectly states that he “is scheduled to undergo surgery later this fall, with

a pre-surgery consultation scheduled in September.” ECF No. 393 at 1. No surgery is currently

scheduled. Further, the United States has been advised by the Bureau of Prisons that because of a

mistaken disclosure of the date of the pre-surgery consultation appointment in Samsel’s civil action

in the Eastern District of New York, that appointment must be cancelled and rescheduled for a

separate date. 1




1 On August 27, 2024, counsel for Samsel emailed chambers and the United States requesting that

the Court waive Samsel’s presence at an upcoming hearing, stating that his presence may result in
the cancellation of this consultation appointment. This concern is now moot.


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       Second, Samsel incorrectly states that his BOP medical records “state the imperativeness

for Mr. Samsel to undergo the procedure in question as corroborated by the medical provider at

MDC Brooklyn, who further cites to two other surgeons recommending the same.” ECF No. 393

at 2. The Court has considered and denied multiple requests to order Samsel receive this surgery

pretrial. See Jan. 30, 2023 Minute Order. The government is not aware of any physician who has

ever stated that it is “imperative” that Samsel receive his desired surgery, much less that it is

imperative that Samsel receive this surgery within the next few months. In a sworn affidavit dated

August 20, 2024, Bruce Bailor, M.D., the medical provider at MDC Brooklyn, stated that the

surgery consultation should be rescheduled because it was “non-emergent.” Bailor Decl. at 2. The

medical records Samsel himself cites in his motion only corroborate that no exigency exists. Those

medical records classify the priority level of the plastic surgery procedure as “routine,” and notes

that “[t]wo prior surgeons have recommended very limited surgery.” Neither Dr. Bailor nor the

two surgeons state whether it is “imperative” that Samsel receive such surgery or that any exigency

at all exists regarding Samsel’s condition.

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       Continuing Samsel’s sentencing hearing to allow him to receive a “non-emergent” plastic

surgery would risk significantly delaying the Court’s ability to hold Samsel to justice. The

sentencing hearing is less than four weeks away, and if the Court were to postpone sentencing until

after Samsel’s recovery from surgery, there is no assurance Samsel would not delay his medical

treatment from proceeding expeditiously through noncompliance, just as he did on July 21, 2022

when he refused to undergo his chest X-ray (ECF No. 189), and just as he did on August 19, 2022

when he refused to undergo the required pre-operative lab work for the same surgery he seeks

today. Bailor Decl. at 3. The United States asks that the Court deny Samsel’s motion and proceed

with sentencing as planned.




                                             Respectfully submitted,

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